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 IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA,                 )
                                          )      CRIMINAL ACTION NO.
        v.                                )         2:17cr131-MHT
                                          )              (WO)
JUDGE STOKES, JR.                         )

                               OPINION AND ORDER

       This    cause      is    before    the    court   on    the    parties’

joint        motion       to      continue      trial,    filed           by    the

government. Based on the arguments on the record on

September       25,       2017,     and   for    the   reasons      set        forth

below, the court finds that jury selection and trial,

now     set    for    October        3,   2017,    should      be    continued

pursuant       to    18    U.S.C.     § 3161(h)(7)       as    to    defendant

Judge Stokes, Jr.

       While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer,       785    F.2d        1506,   1516    (11th Cir. 1986),              the

court     is   limited         by   the   requirements        of    the    Speedy

Trial Act, 18 U.S.C. § 3161.                  The Act provides in part:
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          “In any case in which a plea of not
          guilty is entered, the trial of a
          defendant charged in an information or
          indictment with the commission of an
          offense shall commence within seventy
          days from the filing date (and making
          public)   of    the   information   or
          indictment, or from the date the
          defendant   has   appeared   before  a
          judicial officer of the court in which
          such charge is pending, whichever date
          last occurs.”

§ 3161(c)(1).       The Act excludes from the 70-day period

any continuance based on “findings that the ends of

justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial.”       §     3161(h)(7)(A).               In    granting    such     a

continuance,       the    court         may     consider,    among    other

factors, whether the failure to grant the continuance

would     “result        in        a     miscarriage        of    justice,”

§ 3161(h)(7)(B)(i),           or       “would   deny   counsel     for    the

defendant ... reasonable time necessary for effective

preparation, taking into account the exercise of due

diligence.”       § 3161(h)(7)(B)(iv).

    The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the


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interest of the public and Stokes in a speedy trial.

According to the motion, counsel for the government and

for Stokes each suffered losses of loved ones within

the     week    preceding       the    previous    plea     deadline       of

September 21, 2017, and were therefore unable to engage

in adequate plea negotiations during that time.                             In

addition, counsel for the government represents that

she will be unavailable for a significant portion of

the week preceding the previous trial date of October

3, 2017, due to pre-scheduled work and medical matters.

A continuance is warranted and necessary to allow the

parties, whose counsel both have been diligent in their

preparation        for    trial,      to    prepare      adequately        and

effectively for trial.             The parties have jointly moved

for such a continuance.

                                      ***

       Accordingly, it is ORDERED as follows:

       (1) The joint motion for continuance (doc. no. 219)

is     granted      as     to    defendant       Judge     Stokes,         Jr.




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       (2)   The    jury   selection      and   trial    for    defendant

Stokes, now set for October 3, 2017, are reset for

November 6, 2017, at 10:00 a.m., in Courtroom 2FMJ of

the     Frank    M.   Johnson     Jr.    United     States     Courthouse

Complex, One Church Street, Montgomery, Alabama.

       DONE, this the 27th day of September, 2017.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE
